                Case 8:25-bk-11409-SC                       Doc 1 Filed 05/25/25 Entered 05/25/25 15:57:08                                      Desc
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Fill in this information to identify the case:

United States Bankruptcy Court for the:

Central District of California
Case number (if known)                                                           Chapter 7
                                                                                                                                    Check if this an
                                                                                                                                 amended filing



Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                                 12/15
Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin a case
against a non-individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If more space
is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if known).

Part 1:     Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed
1. Chapter of the Bankruptcy           Check one:
   Code

                                              Chapter 7
                                       Chapter 11
Part 2: Identify the Debtor
 2. Debtor's name     Chantilly Road, LLC

3. Other names you
   know the debtor
   has used in the last
   8 years

     Include any
     assumed names,
     trade names, or
     doing business as
     names.

4. Debtor's federal Employer            Unknown
   Identification Number (EIN)         XX-XXXXXXX
                                       EIN

 5. Debtor's address        Principal place of business                                             Mailing address, if different

                            c/o Penny M. Fox, CPA                                                         1207 Delaware Ave, Ste. 2992
                            Number               Street                                                   Number           Street
                            15615 Alton Parkway, Suite 450
                                                                                                          P.O. Box
                            Irvine CA 92618-0000                                                          Wilmington DE 19806-0000
                            City                                    State       Zip Code                  City                          State          Zip Code

                                                                                                          Location of principal assets, if different from principal
                            Orange                                                                        place of business
                            County                                                                        1116-1118 Chantilly Road
                                                                                                          Number       Street

                                                                                                          Los Angeles CA 90077-0000
                                                                                                          City                         State           Zip Code


6.    Debtor's website (URL)

7.    Type of debtor       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
                           Partnership (excluding LLP)
                           Other type of debtor. Specify:
8. Type of debtor's       Check one:
   business
                          Health Care Business (as defined in 11 U.S.C. § 101(27A)
                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)
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Debtor     Chantilly Road, LLC                                                                               Case number (if known)

                           Railroad (as defined in 11 U.S.C. § 101(44)
                           Stockbroker (as defined in 11 U.S.C. § 101(53A)
                           Commodity Broker (as defined in 11 U.S.C. § 101(6)
                           Clearing Bank (as defined in 11 U.S.C. § 781(3)
                           None of the types of business listed.
                           Unknown type of business.
9. To the best of
   your knowledge,
                           No
                           Yes. Debtor                                                                             Relationship
   are any
   bankruptcy cases
   pending by or                              District                             Date filed                       Case number, if known
   against any                                                                                  MM / DD / YYYY
   partner or affiliate
   of this debtor?

                                              Debtor                                                                Relationship
                                              District                             Date filed                       Case number, if known
                                                                                                MM / DD / YYYY

Part 3: Report About the Case
10. Venue              Check one:


                           Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of business, or principal assets
                             in this district longer than in any other district.
                           A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.


11.   Allegations         Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                          The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                          At least one box must be checked:

                           The debtor is generally not paying its debts as they become due, unless they are in the subject of a bona fide dispute as to liability or
                             amount.
                           Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or authorized to take
                             charge of less than substantially all of the property of the debtor for the purpose of enforcing a lien against such property, was
                             appointed or took possession.

12. Has there been a
    transfer of any
                           No
    claim against the      Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule 1003(a).
    debtor by or to
    any petitioner?

13. Each petitioner's claim Name of petitioner                                      Nature of petitioner's claim                             Amount of the claim
                                                                                                                                             above the value of any
                                                                                                                                             lien
                                 Creative Art Partners, LLC                         Breach of artwork rental agreement                         $130630
                                                                                                                                               $
                                                                                                                                               $
                                 Martin Simone                                      Money Loaned                                              $125000
                                                                                                                                              $
                                                                                                                                              $
                                 Simone & Roos LLP                                  Services performed                                        $136498.5
                                                                                                                                              $
                                                                                                                                              $
                                 Macoy Capital Mortgage, LLC                        Money loaned                                              $510000
                                                                                                                                              $
                                                                                                                                              $
                                 Allstate Lending Group, Inc.                       3rd DOT/Agreement                                         $2500000
                                                                                                                                              $
                                                                                                                                              $
                                                                                                           Total of petitioners' claims $3402128.5
                                 If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's
                                 name and the case number, if known, at top of each sheet. Following the format of this form,

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                                   set out the information required in Parts 3 and 4 of the form for each statement under penalty
                                   of perjury set out in Part 4 of the form, followed by each additional petitioner's (or
                                   representative's) signature, along with the signature of the petitioner's attorney.



 Part 4 Request for Relief
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a petitioning creditor is a
corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign representative appointed in a foreign
proceeding, attach a certified copy of the order of the court granting recognition.

I have examined the information in this document and have a reasonable belief that the information is true and correct.
     Petitioners or Petitioners' Representative                                  Attorneys


Name and mailing address of petitioner
Creative Art Partners, LLC                                                                D. Edward Hays
Name                                                                                      Printed name

6542 Hayes Drive                                                                          Marshack Hays Wood LLp
Number         Street                                                                     Firm name, if any
Los Angeles CA 90048-0000                                                                 870 Roosevelt
City                                         State             Zip Code                   Number      Street
                                                                                          Irvine CA 92620-3663
Name and mailing address of petitioner's representative, if any                           City                                          State         Zip Code
Rosmarie Riedl, Partner                                                                   Contact phone                                 Email   ehays@marshackha
                                                                                                               (949) 333-7777                   ys.com
Name
                                                                                          Bar number      162507

6542 Hayes Drive                                                                          State           CA
Number         Street
Los Angeles CA 90048-0000
City                                         State             Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        May 23, 2025
                   MM / DD / YYYY                                                         Signature of attorney
                                                                                          Date signed      May 23, 2025
                                                                                                           MM / DD / YYYY
Signature
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   gnat
    nat
     a ur
       uree off petitioner
                petitio    or representative, including representative's title


    Petitioners or Petitioners' Representative                                        Attorneys


Name and mailing address of petitioner
Martin Simone                                                                             D. Edward Hays
Name                                                                                      Printed name

5627 Sepulveda Blvd., Suite 207                                                           Marshack Hays Wood LLP
Number         Street                                                                     Firm name, if any
Van Nuys CA 91411-0000                                                                    870 Roosevelt
City                                         State             Zip Code                   Number      Street
                                                                                          Irvine CA 92602-0000
Name and mailing address of petitioner's representative, if any                           City                                          State         Zip Code
                                                                                          Contact phone                                 Email   ehays@marshackha
                                                                                                               (949) 333-7777                   ys.com
Name
                                                                                          Bar number      162507

                                                                                          State           CA
Number         Street

City                                         State            Zip Code
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Debtor       Chantilly Road, LLC                                                                                  Case number (if known)


I declare under penalty of perjury that the foregoing is true and correct.
Executed on        May 23, 2025
                   MM / DD / YYYY                                                            Signature of attorney
                                                                                             Date signed      May 23, 2025
                                                                                                              MM / DD / YYYY
Signature of
          of petitioner
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                   ione      rep
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    Petitioners or Petitioners' Representative                                           Attorneys


Name and mailing address of petitioner
Simone & Roos LLP                                                                            D. Edward Hays
Name                                                                                         Printed name

5627 Sepulveda Blvd., Ste. 206                                                               Marshack Hays Wood LLP
Number          Street                                                                       Firm name, if any
Van Nuys CA 91411-0000                                                                       870 Roosevelt
City                                           State              Zip Code                   Number      Street
                                                                                             Irvine CA 92620-0000
Name and mailing address of petitioner's representative, if any                              City                                          State       Zip Code
Martin Simone                                                                                Contact phone                                 Email   ehays@marshackha
                                                                                                                  (949) 333-7777                   ys.com
Name
                                                                                             Bar number      162507

5627 Sepulveda Blvd., Ste. 206                                                               State           CA
Number          Street
Van Nuys CA 91411-0000
City                                           State              Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        May 23, 2025
                   MM / DD / YYYY                                                            Signature of attorney
                                                                                             Date signed      May 23, 2025
                                                                                                              MM / DD / YYYY
Signature of petitioner or representative, including representative's title


    Petitioners or Petitioners' Representative                                           Attorneys


Name and mailing address of petitioner
Macoy Capital Mortgage, LLC                                                                  D. Edward Hays
Name                                                                                         Printed name

10880 Wilshire Blvd., Ste. 2230                                                              Marshack Hays Wood LLP
Number          Street                                                                       Firm name, if any
Los Angeles CA 90024-0000                                                                    870 Roosevelt
City                                           State              Zip Code                   Number      Street
                                                                                             Irvine CA 92620-0000
Name and mailing address of petitioner's representative, if any                              City                                          State       Zip Code
Mitch Ohlbaum, President                                                                     Contact phone                                 Email   ehays@marshackha
                                                                                                                  (949) 333-7777                   ys.com
Name
                                                                                             Bar number      162507

10880 Wilshire Blvd., Ste. 2230                                                              State           CA
Number          Street
Los Angeles CA 90024-0000
City                                           State              Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        May 23, 2025
                   MM / DD / YYYY                                                            Signature of attorney

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Debtor      Chantilly Road, LLC                                                                              Case number (if known)

                                                                                        Date signed      May 23, 2025
                                                                                                         MM / DD / YYYY
Signature of petitioner or representative, including representative's title


    Petitioners or Petitioners' Representative                                      Attorneys


Name and mailing address of petitioner
Allstate Lending Group, Inc.                                                            D. Edward Hays
Name                                                                                    Printed name

2540 Corporate Place, #B-108                                                            Marshack Hays Wood LLP
Number        Street                                                                    Firm name, if any
Monterey Park CA 91754-0000                                                             870 Roosevelt
City                                       State            Zip Code                    Number      Street
                                                                                        Irvine CA 92620-0000
Name and mailing address of petitioner's representative, if any                         City                                          State       Zip Code
Mike Scannell, CEO                                                                      Contact phone                                 Email   ehays@marshackha
                                                                                                             (949) 333-7777                   ys.com
Name
                                                                                        Bar number      162507

2540 Corporate Place, #B-108                                                            State           CA
Number        Street
Monterey Park CA 91754-0000
City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        May 23, 2025
                   MM / DD / YYYY                                                       Signature off attorney
                                                                                        Date signed      May 23, 2025
                                                                                                         MM / DD / YYYY
Signature of petitioner or representative, including representative's title




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